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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  NEW CONCEPT DENTAL,                              )
                                                   ) Case No.: 0:17-cv-61411-KAM
  Plaintiff,                                       )
                                                   )
         vs.                                       ) Honorable Judge Kenneth A. Marra
                                                   )
                                                   )
  DENTAL RESOURCE SYSTEMS, INC.                    )
  AKA TRUDENTA                                     )
                                                   )
  Defendant.                                       )
                                                   )


                         STIPULATION FOR ORDER OF DISMISSAL


         IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and Defendant,

  by and through their undersigned counsel, that pursuant to Federal Rule of Civil Procedure

  41(a)(1)(A)(ii), the above-captioned action is hereby dismissed with prejudice as to Plaintiff’s

  individual claims and without prejudice as to the putative class members’ claims. Each party

  shall bear its own costs and attorneys’ fees.

                                                  RESPECTFULLY SUBMITTED,

                                                  NEW CONCEPT DENTAL

                                                  By: /s/ David B. Levin
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                                     DENTAL RESOURCE SYSTEMS, INC.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on November 12, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record, in the manner specified, either via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive Notices of Electronic Filing.


                                                        /s/ Raymond R. Dieppa
                                                        Attorney for Plaintiff




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